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                                                                   2022 Oct-14 PM 04:39
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA




       Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

    UNITED STATES OF AMERICA,                      )
                Plaintiff,                         )
                                                   )
                                                   )
                         v.                        )
                                                   )        CASE NO. 2:20-cv-01971-RDP
    STATE OF ALABAMA, and ALABAMA
                                                   )
    DEPARTMENT OF CORRECTIONS,
                                                   )
                    Defendants.                    )
                                                   )

                              DECLARATION OF DEBORAH CROOK

         I, DEBORAH      CROOK, pursuant to 28 U.S.C.         5   1746, hereby make the following

Declaration under penalty of perjury, and declare that the statements made below are true, and

state as follows:

         1   .   My name is Deborah Crook. I am an individual over the age of nineteen ( I 9) years

and I have personal knowledge of the information contained in this Declaration.

         2.      I am currently employed   as the Deputy Commissioner,    Office of Health Services

("Deputy Commissioner"), for the Alabama Department of Corrections ("ADOC") and have been

employed in this position since May 16,2021.      I    served as Interim Deputy Commissioner from

February 1,2021to May 16,2021. Immediately prior to serving as Interim Deputy Commissioner,

I   served as ADOC's Director of Mental Health Services, assuming that position in November

2019. As Deputy Commissioner, I provide administrative oversight of ADOC's Office of Health

Services ("OHS") and the healthcare services provided             by Wexford Health   Sources, Inc.

("Wexford") for the inmates in ADOC's custody. Wexford serves as the vendor contracted with

ADOC to provide such healthcare services.
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        3.       I   received and reviewed copies of the Amended Motion for Leave to Intervene,

along with the accompanying Complaint          in Intervention and Application for a Temporary
Restraining Order and Preliminary Injunction filed on October 7,2022. (the "Amended Motion,"

Doc. Nos. 99,99-1, and99-2). It is my understanding the Court directed the State of Alabama and

ADOC (collectively, the "State") to respond to the Amended Motion by October 14,2022. (Doc.

No. 100). My understanding is the Amended Motion alleges that ADOC deprived the purported

intervenors    "of a healthy caloric intake, and, in some cases their prescribed medications         and

medical equipment." (Doc. No. 99-1        atl2).   The allegations that ADOC is retaliating against

inmates due to the inmate labor strike by depriving them         of food, refusing their       prescribed

medications, and confiscating their medical equipment are absolutely false and             I   deny them

entirely.

        4.       I am familiar with the on-going inmate strike and ADOC's response with regard to

adjusting the feeding schedule during the work stoppage.            In   response,   I   developed and

disseminated protocols for meals during the inmate strike to comply with OHS' Diet Manual to

the wardens at each facility.

        5.       With regard to the allegations outlined in the Amended Motion, ADOC                 and

Wexford provide a grievance process to all ADOC inmates for any grievances related to medical

and mental healthcare. To request medical and/or mental health services, inmates must first submit

a sick call request    form. Upon submission of the sick call request form, the medical or mental

health providers see the inmates to determine their needs for treatment.      If   an inmate disagrees

with the treatment or determination, the inmate must submit a grievance form to allow Wexford

to correct any deficiencies in their treatment. The grievance process available to inmates addresses

the types of allegations made in the Amended Motion.



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        6.       Upon arriving at any ADOC facility, ADOC notifies inmates of the procedures and

processes   for obtaining medical care and prescribed medications. The Health Care Units within

ADOC facilities generally rely upon the same procedures for obtaining emergency and non-

emergency medical treatment (i.e. sick call), conducting chronic care clinics, medication

administration, segregation sick call and the like, including an inmate's invocation             of   and

participation in a grievance process. As part of the medical staff s inmate orientation, inmates,

including the purported intervening inmates, receive               a form entitled "ACCESS TO
HEALTHCARE SERVICES" which also provides              a   detailed explanation of the grievance process.

        7.       When an inmate develops a non-emergency medical or health problem and/or

complaint at any of ADOC's facilities, an inmate may submit a sick call request form to bring this

problem or complaint to the attention of the medical staff and/or request medical treatment. The

inmates utilize the well-known sick call request process throughout all ADOC facilities on a daily

basis. In the "ACCESS TO HEALTHCARE SERVICES" form, ADOC provides inmates                               a


complete description of the sick call process. For inmates housed in general population areas,

ADOC makes sick call request forms available at the Health Care Unit and at various locations

throughout the faci I ity.

        8.       An inmate making a sick call request must complete the top portion of the sick call

request form (stating his name, the date of request, AIS number, date of birth, dorm location, the

nature of the problem or request and his signature). The inmate then submits the sick call request

form by placing it in one of the locked boxes located throughout the facility. Medical staff remove

sick call request forms from the locked box each morning, bring them to the Health Care Unit, and

mark them as received by the medical records clerk or a nurse at that time.




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        9.       Upon triage of sick call request forms, the sick call request forms, the medical staff

compiles a list of inmates who submitted sick call requests and provides the list to the ADOC

offrcer assigned to the Health Care      Unit.   Inmates who submit sick call request forms are

responsible for reporting to the Health Care Unit for evaluation of their complaints. The nurse

conducting sick call takes inmates' vital signs and either:     (l)   provides an inmate with medical

treatment that the nurse can provide under the nursing protocols, or (2) refers the inmate to the

physician or nurse practitioner on staff at the facility. If an inmate submits more than one sick call

request form on the same day, the nurse    will only fill in the intake information on one (l) sick call

request form regarding the inmate's subjective complaints, objective vital signs, assessment and

plan.

        10.       The inmates know well that this grievance procedure exists as indicated by the

fact that the medical staff at ADOC's facilities receive inmate requests and/or inmate grievances

on a daily basis. The physicians, nurse practitioners, nurses, and other medical personnel at the

facilities attempt to resolve all inmate concerns prior to an'oinmate grievance" being submitted.

        I   l.   A submitted sick call request form that the medical staff does not complete indicates

that an inmate failed to report when summoned to sick call. If the medical complaints or problems

identified by an inmate in a sick call request form appear to be urgent or life+hreatening, the

medical staff will immediately request that ADOC correctional staff bring the inmate to the Health

Care Unit for medical treatment, and the inmate    will not be required to wait until sick call begins.

        12.      As set forth in the "ACCESS TO HEALTHCARE SERVICES" form, inmates

receive prescribed medication through the process commonly referred to as "pill      call." During pill

call, inmates line up outside of the pill call windows outside of the Health Care Unit. When an

inmate arrives at the pill call window, he provides a member of the medical staff who is standing



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on the other side of the   pill call window with his ADOC-issued identification badge. The medical

staff member then retrieves the inmate's medication and provides it to the inmate in a small cup.

The inmate must immediately take the medication in front of the medical staff member.

        13.    As the pill call process progresses, the medical staff conducting the pill call records

the disbursement of medication on forms known as "Medication Administration Records" or E-

MARs, which they maintain electronically. If an inmate does not report to pill call to retrieve his

medication, they will receive a "missed" designation.

        14.    In addition to the pill call process, ADOC permits some inmates to maintain their

prescription medications on their person and administer this medication without oversight from

the medical staff. This process, known as "KOP" or "Keep on Person" medication administration,

constitutes a more efficient and sometimes more effective medication administration process.

ADOC does not permit administration of certain medications, such as narcotics and certain

psychotropic medications, through the KOP program. When ADOC enrolls an inmate in the KOP

program, he or she must consent to such enrollment and Wexford notifies the inmate of the

specifics of the process. Through the KOP program, inmates receive blister packs containing their

medication. These blister packs of medication provide explicit directions       as to the order   in which

the medications should be taken and that when the inmates reach a certain number of remaining

pills, i.e. when an inmate reaches the "re-order" row on the blister pack, he should notiff the

medical staff that his medication requires reordering. In short, inmates enrolled in the KOP

program are personally responsible for taking their medication as prescribed and notifying the

medical staff at the facility when those medications require re-ordering.

        15.    An inmate initiates the grievance process by submitting      a   Medical Grievance form

to the HSA through the institutional mail system. After reviewing the Medical Grievance, the



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HSA provides a written response within approximately ten (10) days of receipt of the Inmate

Grievance. The HSA encourages inmates who have complaints about the medical care they sought

or received within the facilities to utilize this grievance process. The HSA provides the written

response to a Medical Grievance on the bottom portion of the same form containing an inmate's

Medical Grievance in the "Response" section. Below the "Response" section, the following

notation appears:

                IF YOU WISH TO APPEAL THIS REVIEW YOU                        MAY
                REQUEST A GRIEVANCE APPEAL FORM FROM THE
                HEALTH SERVICES ADMINISTRATOR. RETURN THE
                COMPLETED FORM TO THE ATTENTION OF THE HEALTH
                SERVICE ADMINISTRATOR. YOU MAY PLACE THE FORM
                IN THE SICK CALL REQUEST BOX OR GIVE IT TO THE
                SEGREGATION SICK CALL NURSE ON ROUNDS.

        16.     As stated in the Medical Grievance forms, the second step of the grievance process

involves the submission of a formal Medical Grievance Appeal, at which time the HSA may bring

in the inmate for one-on-one communication with the medical staff, the Director of Nursing

("DON") or me. The health services provider, Wexford, provides      a written response to a formal


Medical Grievance Appeal within approximately ten (10) days of receipt and retums a copy of the

completed forms to the inmate. Inmates may obtain Medical Grievance and Medical Grievance

Appeal forms from the Health Care Unit and the correctional shift commander office at the

facilities. Inmates must place completed Medical Grievance and Medical Grievance Appeal forms

in the sick call boxes.

        17.     The only grievance submitted by any of the putative intervenors arises out of

Fountain Correctional Facility and bears a date of October 4,2022 (i.e., four (4) days after the

filing of the original motion to intervene).




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       I declare under penalty of perjury that the foregoing is true and correct. I understand that

a false statement in   this Declaration will subject me to penalties for perjury.

Date: October 14,2022.


                                                         Deborah Crook




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